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                                                         REDACTED VERSION


               IN THE UNITED STATES COURT OF FEDERAL CLAIMS



 BITMANAGEMENT SOFTWARE GMBH,

                      Plaintiff,                     Case No. 16-840 C
               v.
                                                     Senior Judge Edward J. Damich
 THE UNITED STATES OF AMERICA,

                      Defendant.



            DECLARATION OF ADAM RAVIV IN SUPPORT OF PLAINTIFF’S
            MOTION FOR PARTIAL SUMMARY JUDGMENT ON LIABILITY

       I, Adam Raviv, hereby declare as follows in support of the March 2, 2018 Motion for

Partial Summary Judgment on Liability submitted by Plaintiff Bitmanagement Software GmbH.


       1.     I am a special counsel with the law firm of Wilmer Cutler Pickering Hale and

Dorr, LLP, counsel for Plaintiff Bitmanagement Software GmbH.

       2.     Plaintiff’s March 2, 2018 Memorandum in Support of its Motion for Partial

Summary Judgment on Liability is supported by an Appendix, which contains copies of the

following categories of documents:

              a.     Written discovery responses served by the parties to this litigation;

              b.     Transcripts of depositions taken by the parties in this litigation;

              c.     Documents produced by the parties in this litigation;

              d.     Documents produced by Planet 9 Studios, Inc. and Synergy Software

                     Design LLC in response to third-party subpoenas issued in this litigation

                     by the Defendant;

              e.     Documents obtained from websites maintained by the U.S. Government;
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               f.     Documents obtained from the website http://www.web3d.org/.

       3.      Certain of the above-listed documents have been excerpted pursuant to Part IV.8

of the Court of Federal Claims’ Electronic Case Filing Procedure. The documents that have been

excerpted are identified as such in the index to the Appendix.

       4.      Apart from the alterations described in paragraph 3 of this Declaration, the

documents contained in the Appendix attached to Plaintiff’s Memorandum in Support of its

Motion for Partial Summary Judgment on Liability are true and correct copies of the referenced

documents.




       I, Adam Raviv, declare under penalty of perjury that the foregoing is true and correct to

the best of my knowledge.




Executed this 2nd day of March, 2018, in Washington, D.C.




                                                     /s/ Adam Raviv

                                                     Adam Raviv
